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              IN THE UNITED STATES BANKRUPTCY COURT

                IN AND FOR THE DISTRICT OF DELAWARE


American Home Mortgage Holdings,         ) Case No. 07-11047 CSS
     Inc., et al.,                       ) Chapter 11
                     Debtors,            ) Jointly Administered
                                         ) Ref. No. 3170

         ORDER GRANTING RELIEF FROM AUTOMATIC STAY AS TO
        849 WELLINGTON STREET, BALTIMORE, MARYLAND, 21211

     AND NOW, TO WIT, this _____ day of ________ A.D., 2007,

Mortgage Electronic Registration Systems, Inc. as nominee for

GreenPoint Mortgage Funding, Inc.’s Motion for Relief from

Automatic Stay having been heard and considered;

     IT IS HEREBY ORDERED that the Stay afforded by 11 U.S.C. §362

is hereby terminated for cause so as to permit Mortgage Electronic

Registration Systems, Inc. as nominee for GreenPoint Mortgage

Funding, Inc. and/or the holder of the first mortgage, as recorded

in the Circuit Court for Baltimore City in the State of Maryland

in Book 06071, Page 0217, for 849 Wellington Street, Baltimore,

Maryland, 21211, to enforce its security interest in the aforesaid

real property through foreclosure proceedings, Sheriff's Sale of

the property and any other legal remedies against the property

which may be available to Mortgage Electronic Registration

Systems, Inc. as nominee for GreenPoint Mortgage Funding, Inc.

under State law; and
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     IT IS FURTHER ORDERED that Rule 4001(a)(3) is deemed not

applicable and that Mortgage Electronic Registration Systems, Inc.

as nominee for GreenPoint Mortgage Funding, Inc. may immediately

enforce and implement this Order granting relief from the

automatic stay.




                              _____________________________________
                                                J.
